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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                     June 29, 2023
                            UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

LEPP CAPITAL LLC, et al.,                       §
                                                §
           Plaintiffs,                          §
VS.                                             § CIVIL ACTION NO. 4:22-CV-3338
                                                §
TERRI JENKINS, et al.,                          §
                                                §
           Defendants.                          §

            MEMORANDUM OPINION AND ORDER REMANDING CASE

         Before the Court is a motion to remand filed by the plaintiffs, Lepp Capital, LLC

and P.C.F. Properties in TX, LLC (collectively “Lepp Capital”). (Dkt. 17). After careful

consideration of the pleadings, the entire record, and the applicable law, the Court

GRANTS the motion to the extent that it seeks a remand to state court but DENIES the

motion to the extent that it seeks an award of attorney’s fees and costs. This case is

REMANDED to Harris County Justice Court Precinct 4, Place 1.1

                    FACTUAL AND PROCEDURAL BACKGROUND

         Lepp Capital filed a forcible entry and detainer action in Texas state court against

Defendants Terri Jenkins and Antwan Henry (collectively “Defendants”). (Dkt. 1 at pp. 6–

9). Lepp Capital’s state-court pleading, which remains its live pleading, alleges that it

bought Defendants’ home at a foreclosure sale. (Dkt. 1 at p. 8). Lepp Capital’s pleading is

a form petition that is used in the Justice of the Peace courts of Harris County, Texas; the

petition lists only a claim for forcible entry and detainer under Texas state law and does


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    The state-court cause number is 224100295075.


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not list any federal causes of action. (Dkt. 1 at p. 8). Nevertheless, Defendants removed the

case to this Court under both the federal question jurisdiction statute and the diversity

jurisdiction statute. (Dkt. 1 at pp. 2–3).

                                   LEGAL STANDARDS

       A defendant may remove to federal court a state-court civil action over which the

federal court would have original jurisdiction. 28 U.S.C. § 1441(a); see Gasch v. Hartford

Acc. & Indem. Co., 491 F.3d 278, 281 (5th Cir. 2007). Because it implicates important

federalism concerns, removal jurisdiction is strictly construed. Frank v. Bear Stearns &

Co., 128 F.3d 919, 921–22 (5th Cir. 1997). Any doubts concerning removal must be

resolved in favor of remand, Acuna v. Brown & Root Inc., 200 F.3d 335, 339 (5th Cir.

2000), and the federal court “must presume that a suit lies outside [its] limited jurisdiction.”

Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001). The removing party bears

the burden of establishing by a preponderance of the evidence that federal jurisdiction

exists and that removal is proper. Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d

720, 723 (5th Cir. 2002).

              —Federal question jurisdiction

       Federal district courts have original jurisdiction over “all civil actions arising under

the Constitution, laws, or treaties of the United States.” See 28 U.S.C. § 1331. An action

can “arise under” federal law as contemplated in Section 1331 in two ways. The first and

more obvious way is where a well-pleaded complaint explicitly asserts a cause of action

created by federal law. Venable v. La. Workers’ Comp. Corp., 740 F.3d 937, 941 (5th Cir.

2013); Singh v. Duane Morris LLP, 538 F.3d 334, 337 (5th Cir. 2008).


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       The second way is where a well-pleaded complaint asserts a state-law cause of

action that “necessarily raises a stated federal issue, actually disputed and substantial,

which a federal forum may entertain without disturbing any congressionally approved

balance of federal and state judicial responsibilities[.]” Venable, 740 F.3d at 941 (quoting

Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 314 (2005))

(brackets omitted); see also Singh, 538 F.3d at 338. A state-law cause of action does not

raise a federal issue simply because the parties may ultimately litigate a federal issue,

Venable, 740 F.3d at 942–43; Singh, 538 F.3d at 338, and a civil action does not arise under

federal law by dint of a “mention of federal law” in its articulation of a state-law claim.

Howery, 243 F.3d at 917–19. Rather, “a right or immunity created by the Constitution or

laws of the United States must be an element, and an essential one, of the plaintiff’s cause

of action.” Venable, 740 F.3d at 943 (quoting Gully v. First Nat’l Bank in Meridian, 299

U.S. 109, 112 (1936)) (brackets and capitalization omitted); see also Singh, 538 F.3d at

338 (noting that resolution of the federal issue must be “necessary to resolution of the state-

law claim”) (emphasis added).

       Ultimately, the determination of whether a state-law claim raises a federal issue that

confers subject matter jurisdiction on the federal courts is a “contextual” one for which

there is no “bright-line rule[.]” Grable, 545 U.S. at 317–18. Under the well-pleaded

complaint rule, the court limits its inquiry to “what necessarily appears in the plaintiff’s

statement of his own claim . . . unaided by anything alleged in anticipation or avoidance of

defenses which it is thought the defendant may interpose.” Venable, 740 F.3d at 942

(quoting Taylor v. Anderson, 234 U.S. 74, 75–76 (1914)).


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              —Diversity jurisdiction

       Federal courts also have original jurisdiction over civil actions in which: (1) all

persons on one side of the controversy are citizens of different states than all persons on

the other side; and (2) the amount in controversy exceeds $75,000.00, exclusive of interest

and costs. 28 U.S.C. § 1332; see also McLaughlin v. Miss. Power Co., 376 F.3d 344, 353

(5th Cir. 2004). A defendant meets its burden of establishing the requisite amount in

controversy for diversity jurisdiction if: “(1) it is apparent from the face of the petition that

the claims exceed $75,000, or, alternatively, (2) the defendant sets forth ‘summary

judgment type evidence’ of facts in controversy that support a finding of the requisite

amount.” Manguno, 276 F.3d at 723. Once a defendant meets its burden, “removal is

proper, provided plaintiff has not shown that it is legally certain that his recovery will not

exceed the amount stated in the state complaint.” De Aguilar v. Boeing Co., 47 F.3d 1404,

1412 (5th Cir. 1995).

                                         ANALYSIS

       Defendants have not carried their burden of establishing by a preponderance of the

evidence that federal jurisdiction exists and that removal was proper.

              —Federal question jurisdiction

       Defendants first contend that the federal Fair Debt Collection Practices Act

(“FDCPA”) confers federal question jurisdiction on the Court “because an Eviction is an

‘attempt to collect’ pursuant to the Fair Debt Collection Practices Act; for other FDCPA

violations; and for other reasons.” (Dkt. 1 at p. 2). The Court disagrees.

       Lepp Capital’s state-court pleading does not mention the FDCPA or any other


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federal law; it is a form pleading that solely states a claim for forcible entry and detainer

under Texas state law. (Dkt. 1 at p. 8). While it is not exactly clear, Defendants’ argument

that the FDCPA nevertheless gives this Court subject matter jurisdiction seems to rest on

one or both of two contentions: (1) Defendants can bring a counterclaim against Lepp

Capital under the FDCPA; and (2) the FDCPA preempts Lepp Capital’s forcible entry and

detainer action. Neither contention carries Defendants’ burden.

       As to Defendants’ first contention, Lepp Capital has sued Defendants solely under

a Texas state-law cause of action, and Defendants cannot create federal subject matter

jurisdiction by simply raising federal questions as defenses or counterclaims. Bernhard v.

Whitney National Bank, 523 F.3d 546, 550–51 (5th Cir. 2008) (“Even an inevitable federal

defense does not provide a basis for removal jurisdiction.”); Holmes Group, Inc. v.

Vornado Air Circulation Systems, Inc., 535 U.S. 826, 831 (2002) (“[A] counterclaim—

which appears as part of the defendant’s answer, not as part of the plaintiff’s complaint—

cannot serve as the basis for ‘arising under’ jurisdiction.”). As discussed above, a state-law

cause of action does not raise a federal issue simply because the parties may ultimately

litigate a federal issue. Venable, 740 F.3d at 942–43; Singh, 538 F.3d at 338. Accordingly,

Defendants cannot create federal subject matter jurisdiction by bringing a counterclaim

under the FDCPA.

       The contention that the FDCPA preempts Lepp Capital’s forcible entry and detainer

action also fails. Complete preemption “creates federal jurisdiction if Congress, by statute,

completely pre-empts a particular area such that any civil complaint raising the select group

of claims is necessarily federal in character.” Mitchell v. Advanced HCS, L.L.C., 28 F.4th


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580, 585 (5th Cir. 2022) (quotation marks and brackets omitted). To establish complete

preemption, Defendants must show that: “(1) the statute contains a civil enforcement

provision that creates a cause of action that both replaces and protects the analogous area

of state law; (2) there is a specific jurisdictional grant to the federal courts for enforcement

of the right; and (3) there is a clear congressional intent that the federal cause of action be

exclusive.” Id. (quotation marks omitted). Defendants have not made that showing in this

case, and to the Court’s knowledge “no court has ever held that the FDCPA completely

preempts applicable state law or even that it preempts the field.”2 Desmond v. Phillips &

Cohen Associates, Ltd., 724 F. Supp. 2d 562, 567 (W.D. Pa. 2010) (quotation marks

omitted).

        Defendants’ invocation of the FDCPA does not give this Court subject matter

jurisdiction. Accordingly, Defendants have failed to carry their burden as to federal

question jurisdiction. See Wells Fargo Bank NA v. Agnew, No. 3:14-CV-1646, 2014 WL

2158420, at *3 (N.D. Tex. May 23, 2014) (“A post-foreclosure action for forcible detainer

and writ of possession arises solely under state law and does not provide a basis for federal

jurisdiction.”).




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 “Field” preemption, which the Desmond Court refers to in the phrase “preempts the field,” is a
form of implied preemption. Aldridge v. Mississippi Department of Corrections, 990 F.3d 868,
874 (5th Cir. 2021). It is irrelevant in this context because, even if present, it does not create federal
subject matter jurisdiction. “Unlike complete preemption, which creates federal subject-matter
jurisdiction over preempted state law claims, field preemption is a defense to a state law cause of
action and cannot, by itself, be a basis for removal to federal court.” NH Attorney General v. Bass
Victory Committee, No. 12-CV-170, 2012 WL 2838425, at *2 (D.N.H. July 10, 2012) (collecting
cases); see also Virgil v. Reorganized M.W. Co., Inc., 156 F. Supp. 2d 624, 630 (S.D. Miss. 2001).


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              —Diversity jurisdiction

       Defendants next contend that the Court has diversity jurisdiction because they are

citizens of Georgia, Lepp Capital is a citizen of Texas, and the value of Defendants’ home

is $400,000.00. (Dkt. 1 at pp. 2–3). The Court disagrees.

       Numerous district courts in Texas have held that, in a forcible entry and detainer

action, the amount in controversy is not the fair market value of the property at issue but

the value of the right to occupy the property at issue. U.S. Bank N.A. v. Oyedokun, No. A-

14-CV-732, 2014 WL 12879001, at *3 (W.D. Tex. Sept. 19, 2014), adopted, 2014 WL

12879179 (W.D. Tex. Oct. 2, 2014) (collecting cases); see also U.S. Bank Trust N.A. v.

Patrick, No. 3:21-CV-2306, 2021 WL 4876272, at *2 (N.D. Tex. Sept. 30, 2021), adopted,

2021 WL 4864868 (Oct. 14, 2021) (“But the full value of the subject property is not the

object of U.S. Bank’s forcible detainer action. Instead, a forcible detainer action only seeks

possession of property. Ownership of the home is not a matter in controversy in an eviction

suit.”) (brackets omitted; emphasis in Patrick). “Despite [Defendants’] claims, evidence of

a property’s fair market value is not evidence of the value of the right to possess the

property for purposes of establishing the amount in controversy in a removed eviction

proceeding.” American Homes 4 Rent Properties v. Arami Gates, No. 3:14-CV-2575, 2014

WL 4271645, at *3 (N.D. Tex. Aug. 27, 2014); see also Oyedokun, 2014 WL 12879001 at

*3. Accordingly, by only presenting evidence of the fair market value of their home,

Defendants have failed to carry their burden of establishing the requisite amount in

controversy for federal diversity jurisdiction. Oyedokun, 2014 WL 12879001 at *3.




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                —Remand is appropriate.

         The Court concludes that Defendants have not met their burden to show by a

preponderance of the evidence that federal jurisdiction exists and that removal was proper.

Accordingly, remand is appropriate.

                                       CONCLUSION

         Plaintiffs’ motion to remand (Dkt. 17) is GRANTED to the extent that it seeks a

remand to state court but DENIED to the extent that it seeks an award of attorney’s fees

and costs. This case is REMANDED to Harris County Justice Court Precinct 4, Place 1.3

The Clerk is directed to provide a copy of this order to the parties. The Clerk is further

directed to send a certified copy of this order via certified mail, return receipt requested, to

the Chief Clerk of Harris County Justice Court Precinct 4, Place 1.

         Any other pending motions are DENIED as moot.

         SIGNED at Houston, Texas on June 29, 2023.


                                                 _________
                                                      _ _____________________
                                             __________________________________
                                                   GEORGEE C.
                                                           C HANKS,
                                                              HANKS JR.
                                                                     JR
                                             UNITED STATES DISTRICT JUDGE




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    The state-court cause number is 224100295075.


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